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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

    A.O.A., et al.,                             )
                                                )      Case No. 4:11-cv-00044-CDP
                            Plaintiffs,         )          (CONSOLIDATED)
                                                )
                      vs.                       )
                                                )
    THE DOE RUN RESOURCES                       )
    CORPORATION, et al.,                        )
                                                )
                            Defendants.         )

DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION TO EXCLUDE
 THE PROFFERED OPINION TESTIMONY OF PLAINTIFFS’ EXPERT WITNESS
        CLEMENTE VEGA, PSY.D. UNDER RULE 702 AND DAUBERT
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       Defendants The Renco Group, Inc., The Doe Run Resources Corporation, D.R. Acquisition

Corp., Doe Run Cayman Holdings LLC, Ira L. Rennert, Theodore P. Fox III, Marvin K. Kaiser,

Jeffery L. Zelms, and Albert Bruce Neil (collectively “Defendants”), by and through undersigned

counsel, file this Memorandum of Law in support of their motion to exclude the proffered opinion

testimony of Plaintiffs’ expert witness, Clemente Vega, Psy.D., pursuant to Rule 702 of the Federal

Rules of Evidence, and the principles set forth in Daubert v. Merrell Dow Pharms., Inc., 509 U.S.

579 (1993), and its progeny.

I.     INTRODUCTION

       Plaintiffs retained Dr. Vega, a Boston-based neuropsychologist who focuses on brain

surgery and epilepsy, and who has evaluated in his practice only three patients with an identified

history of lead exposure (Ex. A, 5/8/2019 Deposition of Dr. Clemente Vega, Psy.D., Vol. I (“Vega

Dep. Vol. I”) at 67:15-22, 84:23-85:3), to interview the 16 Final Discovery Cohort Plaintiffs and

one or both parents before administering each Plaintiff a day-long battery of cognitive and

neuropsychological tests. From that work in 2016, and no follow up since, Dr. Vega diagnosed

each of these 16 Plaintiffs with a variety of cognitive, neurodevelopmental, and behavioral issues

(e.g., learning difficulties, Intellectual Disability, Attention Deficit Hyperactivity Disorder

(“ADHD”), and Borderline Cognitive Function). Ultimately, Dr. Vega opines that all the aforesaid

issues he diagnosed in Plaintiffs are injuries caused by exposure to lead specifically from Doe Run

Peru’s (“DRP”) operations of the La Oroya Complex from October 1997 to June 2009.

       Dr. Vega’s opinion testimony should be excluded in its entirety for several reasons. The

most significant opinion Dr. Vega offers for purposes of Plaintiffs’ claims against Defendants (and

on which both Dr. Karen Hopkins and Dr. Howard Hu rely for their medical causation opinions)

is that exposure to lead reduced Plaintiffs’ intelligence. But to arrive at this opinion, Dr. Vega

selected and administered to Plaintiffs an intelligence test (known as the Batería III) that (1) is not

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generally accepted in the medical and scientific literature as being used to evaluate lead’s effects

on one’s intelligence, (2) is not applicable to the plaintiff population in this case, i.e., children and

young adults native to Peru (much less the remote Central Andes region), and (3) has serious

methodological flaws, rendering its results unreliable. Dr. Vega’s use of this test resulted in

Plaintiffs having artificially low intelligence scores; in other words, Plaintiffs appear far less

intelligent and capable than they are.

        As if this disservice to Plaintiffs was not enough, Dr. Vega further artificially reduces the

appearance of Plaintiffs’ intelligence by offering incredible conclusions about so-called “age and

grade equivalence.” For example, Dr. Vega concludes that a given Plaintiff, J.R.E.L., who was 16

years old and in tenth grade at the time of Dr. Vega’s examination, was functioning “at a 9 year,

5-month-old level” and in some academic areas equivalent to someone in fourth or fifth grade. Ex.

B, Expert Report of Dr. Vega for J.R.E.L. (“Vega J.R.E.L. Report”) 2/18/2019 at 1,13,14. The

reality is that since Dr. Vega’s examination in 2016, J.R.E.L. went on to pursue university studies

while also balancing full-time employment and the responsibilities associated with caring for his

young child. Composite Ex. C, Individual Expert Reports of Dr. Gloria Morote (“Morote Reports”)

11/26/2019, Report for J.R.E.L. (“Morote J.R.E.L. Report”) 11/26/2019 at 5. As J.R.E.L.’s

situation demonstrates, reliance on such “age/grade equivalency” scores is deeply flawed, as such

scores are based on U.S. standards and are not generally accepted for evaluating individual

intelligence.

        That Dr. Vega’s evaluations reflect artificially low measures of Plaintiffs’ intelligence is

clear for two reasons. First, when Defendants’ expert neuropsychologist (who is Peruvian)

administered a battery of tests (1) generally accepted in the medical and scientific community for

evaluating lead’s effects on intelligence and (2) appropriate for use with a Peruvian population,



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Plaintiffs’ intelligence scores were as much as 15-30 points higher than as measured by Dr. Vega.

See Composite Ex. C, Morote Reports 11/26/2019. An individual cannot perform better than his

or her best on an intelligence measure but can always perform more poorly due to factors such as

improper test selection and environmental conditions.

       Second, Dr. Vega’s results stand in stark contrast to Plaintiffs’ real-world performance and

accomplishments. Like J.R.E.L., all Plaintiffs are performing at their appropriate grade level in

school and progressing through the Peruvian education system. Despite the fact that over 30% of

individuals from La Oroya do not even graduate from secondary school,1 all Plaintiffs over 18

have graduated from secondary school, are or have been enrolled in post-secondary school, and

are otherwise obtaining varied employment. Ex. D, Appendix A of Expert Report of Dr. Gloria

Morote (“Appendix A Morote Report”) 11/26/2019 at 29. Indeed, while Dr. Vega assesses various

Plaintiffs as having Borderline Intellectual Function,2 in reality, those same Plaintiffs have pursued

education at the university level in such fields as engineering and architecture, some while

simultaneously maintaining substantial employment. In addition to J.R.E.L, other illustrative

examples include:

       •   J.J.E.C. has been a student at the National University in Huancayo, Peru. He is pursuing

           a degree in architecture, is doing well in his current courses, and expects to graduate.

           Composite Ex. C, Morote Expert Reports, Report for J.J.E.C. (“Morote J.J.E.C.

           Report”) 11/26/2019 at 5.




1
  See Ex. E Expert Report of Dr. Luis Martinez-Fernandez (“Martinez-Fernandez Report”)
11/26/2019 at 16.
2
  Borderline Intellectual Function is a level of measured intellectual performance between average
and significantly subaverage intelligence. It is most often associated with IQs in the range 70 to
75. https://dictionary.apa.org/borderline-intelligence (last visited 11/2/2021).
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       •   G.C.S. graduated from secondary school and pursued two and a half years of training

           as a chef before enrolling at a private university where he earned a certificate in

           Administration. He reported working full-time at a local restaurant with both culinary

           and administrative responsibilities. Composite Ex. C, Morote Expert Reports, Report

           for G.C.S. (“Morote G.C.S. Report”) 11/26/2019 at 5-7.

In sum, Dr. Vega performed an assessment of Plaintiffs designed to make them appear less

intelligent than they are, supported by cherry-picked facts from Plaintiffs’ academic records while

ignoring or baselessly explaining away their real-word achievements.

       The problems with Dr. Vega’s opinion testimony do not stop there. Rather than confine his

testimony to neuropsychology, he veers into the fields of toxicology, epidemiology, and medicine,

opining that every Plaintiff’s “neuropsychological sequelae and resultant impairments in

cognitive, academic, behavioral, and emotional functioning identified in the current evaluation are

consistent with the known consequences of children exposed to lead” and that “the lead

emissions from Defendants’ operations directly contributed to cause the neuropsychological

health problems identified in this examination.” See, e.g., Ex. F, Expert Report of Dr. Vega for

G.S.A.Y. (“Vega G.S.A.Y. Report”) 2/18/2019 at 16 (emphasis added). Not only is Dr. Vega

entirely unqualified to offer such a causation opinion, but he employs no methodology whatsoever

in arriving at such opinion. On the topic of general causation, i.e., whether lead exposure is capable

of causing the at-issue “neuropsychological health problems,” his reports include no citations to

or discussions of studies associating lead exposure with any of the cognitive or behavioral injuries

he evaluates in the Plaintiffs, and he offers no analysis in support of such an opinion. Rather, he

offers his mere say-so that lead exposure causes cognitive injuries, supported by a reference to

general knowledge of lead literature and to Dr. David Bellinger’s report, another of Plaintiffs’



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experts. He does not even apply any generally accepted methodology for leaping from a purported

association in the literature to a causation assessment.

       With regards to specific causation, i.e., that lead exposure caused Plaintiffs’ various

neurodevelopmental injuries, Dr. Vega employed no methodology at all. Rather, like another of

Plaintiffs’ experts, Dr. Karen Hopkins, he asks the Court merely to assume that he conducted the

necessary differential diagnosis for ruling out potential contributing factors for Plaintiffs’ alleged

injuries, even when that analysis and discussion is wholly absent from his reports. Essentially, Dr.

Vega’s opinion simply is that because a Plaintiff was exposed to lead and has a condition such as

ADHD, that lead caused that Plaintiff’s ADHD. Or because a Plaintiff was exposed to lead, lead

is responsible for her score on an intelligence test. But, of course, ADHD has many possible causes.

And there are a host of factors that impact intelligence. It is wildly inappropriate for Dr. Vega to

simply assume that lead exposure is the sole or even primary culprit.

       Further, while not an environmental scientist, toxicologist, or metallurgist, and

acknowledging that he has no specific knowledge regarding the identity of Defendants or the

operation of the La Oroya Complex, Dr. Vega, like Dr. Hopkins, opines in each of his reports that

it is specifically the lead emissions “from Defendants’ operations” of the Complex that caused

Plaintiffs’ alleged neuropsychological health problems. Dr. Vega, however, does not offer any

explanation as to how he identified lead from “Defendants’ operations” as the primary contributing

factor. Nor does he even have the qualifications to do so.

       Dr. Vega’s opinions are legally deficient in two additional respects. First, he goes on for

multiple pages in his expert reports providing so-called “recommendations” he designed for each

Plaintiff academically and/or behaviorally. But he admits that most of these suggestions are

entirely impractical in La Oroya, he has done no work to determine whether they are realistic or



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appropriate for Plaintiffs, and he has no plans to communicate these to Plaintiffs or help implement

them in any way. Second, while knowing next to nothing about the Peruvian educational system

or what employment opportunities exist in Peru, much less La Oroya, and having done little to no

research or analysis into these issues, Dr. Vega offers the opinion that Plaintiffs would be “doing

better” if not for their exposure to lead. Ex. A, Vega Dep. Vol I at 342:18-23. Not only is this

opinion impermissibly vague, but it is wildly speculative and entirely unhelpful to the jury. Again,

much like Dr. Hopkins, Dr. Vega makes no effort to, and indeed cannot, quantify, or even

articulate, the purported damage lead had on each Plaintiff’s educational or employment

performance or opportunities.

       Accordingly, because Dr. Vega’s proffered opinions are unreliable and inadmissible within

the meaning of Rule 702 and controlling case law, Defendants request that the Court exclude the

proffered opinion testimony and preclude Dr. Vega from testifying at trial.

II.    LEGAL STANDARD

       Under Daubert and Federal Rule of Evidence 702, a federal district court has a duty to act

as a “gatekeeper,” ensuring that only scientifically reliable and relevant expert evidence is

presented to the jury. Daubert, 509 U.S. at 589. Rule 702 provides that “[a] witness who is

qualified as an expert by knowledge, skill, experience, training, or education may testify in the

form of an opinion or otherwise if:

       (a)     the expert’s scientific, technical, or other specialized knowledge will
               help the trier of fact to understand the evidence or to determine a fact
               in issue;
       (b)     the testimony is based on sufficient facts or data;
       (c)     the testimony is the product of reliable principles and methods; and
       (d)     the expert has reliably applied the principles and methods to the facts
               of the case.”

       “The screening requirement of Rule 702 has been boiled down to a three-part test.” Johnson

v. Mead Johnson & Co., LLC, 754 F.3d 557, 561 (8th Cir. 2014). “First, evidence based on

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scientific, technical, or other specialized knowledge must be useful to the finder of fact in deciding

the ultimate issue of fact. This is the basic rule of relevancy. Second, the proposed witness must

be qualified to assist the finder of fact. Third, the proposed evidence must be reliable or

trustworthy in an evidentiary sense, so that, if the finder of fact accepts it as true, it provides the

assistance the finder of fact requires.” Id. at 561 (emphasis added). “The proponent of the expert

testimony must prove its admissibility by a preponderance of the evidence.” Redd v. Depuy

Orthopaedics, 700 F. App’x 551, 554 (8th Cir. 2017).

       “To show that the expert testimony is relevant, the proponent must show that the reasoning

or methodology in question is applied properly to the facts in issue.” Marmo v. Tyson Fresh Meats,

Inc., 457 F.3d 748, 758 (8th Cir. 2006); see also Daubert, 509 U.S. at 591-92 (“Rule 702’s

‘helpfulness’ standard requires a valid scientific connection to the pertinent inquiry as a

precondition to admissibility.”); Lauzon v. Senco Prods., Inc., 270 F.3d 681, 687 (8th Cir. 2001)

(court must consider “whether the proposed expert sufficiently connected the proposed testimony

with the facts of the case”). To satisfy the reliability requirement, the party offering the expert

testimony must show by a preponderance of the evidence both that the expert is qualified to render

the opinion and that the methodology underlying his or her conclusions is scientifically valid.

Barrett v. Rhodia, Inc., 606 F.3d 975, 980 (8th Cir. 2010). “Failure to show the reliability of each

step in an expert’s methodology is fatal under Daubert.” In re Baycol Prod. Litig., 532 F. Supp.

2d 1029, 1042 (D. Minn. 2007). Moreover, “[e]xpert testimony that is speculative is not competent

proof and contributes nothing to a legally sufficient evidentiary basis.” J.B. Hunt Transp., Inc. v.

GMC, 243 F.3d 441, 444 (8th Cir. 2001).

       In Daubert, “the Supreme Court set forth four factors to guide district courts in resolving

admissibility questions: whether the expert’s methodology has been tested, has been subjected to



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peer review, has a known or knowable error rate, and is generally accepted in the scientific

community.” Kirk v. Schaeffler Grp. USA, Inc., 887 F.3d 376, 391 (8th Cir. 2018); see also Kumho

Tire Co. v. Carmichael, 526 U.S. 137, 141 (1999) (expanding the holding of Daubert to testimony

based on “technical” and “other specialized” knowledge). “Daubert’s progeny provides additional

factors such as: whether the expertise was developed for litigation or naturally flowed from the

expert’s research; whether the proposed expert ruled out other alternative explanations; and

whether the proposed expert sufficiently connected the proposed testimony with the facts of the

case.” Lauzon, 270 F.3d at 687. In weighing these factors, the court properly exercises its

gatekeeping function by “separat[ing] expert opinion evidence based on ‘good grounds’ from

subjective speculation that masquerades as scientific knowledge.” Glastetter v. Novartis Pharm.

Corp., 252 F.3d 986, 989 (8th Cir. 2001). “An expert’s opinion is subject to being rejected if it is

substantially based upon the expert’s subjective belief or unsupported speculation.”           Lawn

Managers, Inc. v. Progressive Lawn Managers, Inc., No. 4:16 CV 144 DDN, 2017 WL 4685245,

at *2 (E.D. Mo. Sept. 28, 2017). Moreover, while a court focuses on an expert’s principles and

methodology, “expert conclusions may also factor into the admissibility calculus.” Id. For

example, a court may, in its discretion, conclude that there is “simply too great an analytical gap”

between a proffered opinion and the data in a case, as it is not required “to admit opinion evidence

that is connected to existing data only by the ipse dixit of the expert.” Id. (quoting Gen. Elec. Co.

v. Joiner, 522 U.S. 136, 146 (1997)). Indeed, “an expert’s methodology must be reliable at every

step of the way,” and in determining whether a step in a given expert’s analysis is unreliable, “the

district court should undertake a rigorous examination of the facts on which the expert relies, the

method by which the expert draws an opinion from those facts, and how the expert applies the

facts and methods to the case at hand.” In re Mirena IUS Levonorgestrel-Related Prod. Liab.



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Litig. (No. II), 982 F.3d 113, 123 (2d Cir. 2020) (emphasis in original) (quotation marks omitted)

(determining that “not only was it appropriate for the district court to take a hard look at plaintiffs’

experts’ reports, the court was required to do so to ensure reliability.”) (emphases added).

       Defendants respectfully submit that the exercise of the Court’s gatekeeping role is

particularly warranted in this case as Dr. Vega’s proffered opinions do not meet the relevancy and

reliability requirements as outlined by Rule 702 and controlling case law.

III.   ARGUMENT

       A.      Dr. Vega’s Diagnoses From Neuropsychological Testing Administered to
               Plaintiffs Are Unreliable

       In establishing the reliability of an expert’s testimony, the court’s gatekeeping function

under Daubert serves “to make certain that an expert, whether basing testimony upon professional

studies or personal experience, employs in the courtroom the same level of intellectual rigor that

characterizes the practice of an expert in the relevant field.” Kuhn v. Wyeth, Inc. 686 F.3d 618, 625

(8th Cir. 2012) (quoting Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 152 (1999)). Here,

Dr. Vega fails to follow the standards for selecting, administering, and interpreting cognitive and

neuropsychological tests that he purports to follow in his clinical practice, as well as those

generally accepted in the field of neuropsychology.

               1.      Basics of neuropsychological assessment

       A neuropsychological assessment is an “evaluation of the presence, nature, and extent of

brain damage or dysfunction derived from the results of various neuropsychological tests.”3 These

tests include clinical instruments measuring memory, language, learning, and attention, among




3
 American Psychological Association, APA Dictionary of Psychology,
https://dictionary.apa.org/neuropsychological-assessment (last visited 11/2/2021).

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other functions.4 In effecting a proper assessment, ethical principles of the profession demand that

“[p]sychologists use assessment instruments whose validity and reliability have been established

for use with members of the population tested.”5 Further, when interpreting test results,

psychologists must “take into account the purpose of the assessment as well as the various test

factors, test-taking abilities, and other characteristics of the person being assessed, such as

situational, personal, linguistic, and cultural differences, that might affect psychologists’

judgments or reduce the accuracy of their interpretations.”6

       Accordingly, when selecting specific tests, psychologists identify instruments that have an

“appropriate normative comparison” to the population they are evaluating, recognizing the

importance of such factors as age, gender, culture, and language.7 A “norm” is a standard or range

of values that represents the typical performance of a group or of an individual against which

comparisons can be made.8 In other words, the expectation is that the test-taker’s scores will be

compared to a population that most closely resembles the test subject, including with respect to

culture. In a toxic tort case such as this, the “normative population” would include those of similar

age, gender, culture, and language to the plaintiff but without exposure to the at-issue substance,

here, lead. Further, it is understood that the test instruments utilized by psychologists are not

“singular measures,” but rather are to be integrated with other data points, including clinical



4
 Id. at https://dictionary.apa.org/neuropsychological-tests(last visited 11/2/2021).
5
 American Psychological Association, Ethical Principles of Psychologists and Code of Conduct,
§9.02 Use of Assessments (2017), at https://www.apa.org/ethics/code (emphasis added).
6
 Id. at § 9.06 Interpreting Assessment Results.
7
 American Psychological Association, Guidelines for Psychological Assessment and Evaluation,
Guideline 8 (March 2020), https://www.apa.org/about/policy/guidelines-psychological-
assessment-evaluation.pdf.
8
 American        Psychological      Association,      APA       Dictionary       of     Psychology,
https://dictionary.apa.org/norm (last visited 11/2/2021).

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interviews and collateral information regarding the individual, such as real-world achievement, to

fully assess his or her cognitive capacity.9 Thus, test scores must be put into context using multiple

data points that reflect the individual’s background, influential factors, and population-specific

contributions.10 It would be inappropriate, for example, to compare individuals from a developing

country to a normative group from the United States or Western Europe.

          These guiding principles are especially crucial when assessing an individual’s cognitive

capacity because there are numerous significant factors that can impact intelligence. These factors

include, but are not limited to, genetics, parental IQ, quality of one’s home environment, poverty,

quality of school and community, cultural beliefs, level of caregiving and social support, parental

education, level of nutrition, and medical care. See Ex. D, Appendix A Morote Report 11/26/2019

at 12-14.

          Indeed, one of Dr. Vega’s own stated “Objectives” in this case was “[t]o select a battery

that ensured objectivity, reliability, and validity in testing results by accounting for linguistic and

cultural diversity factors of individuals examined.” See, e.g., Ex. F, Vega G.S.A.Y. Report

2/18/2019 at Appendix A, p.1. To this end, Dr. Vega recognizes that appropriate and applicable

normative standards are essential to evaluate reliably the results of neuropsychological tests, as it

is generally accepted that cultural differences between populations can impact the results of

neuropsychological tests. Ex. G, 5/9/2019 Deposition of Dr. Clemente Vega, Psy.D, Vol II (“Vega

Dep. Vol. II”) at 402:2-403:21. He also agrees with guidelines promulgated by the American

Educational Research Foundation, the American Psychological Association, and the National



9
 American Psychological Association, Guidelines for Psychological Assessment and Evaluation,
Guideline 1 (March 2020) https://www.apa.org/about/policy/guidelines-psychological-
assessment-evaluation.pdf.
10
     Id. at Guideline 7.
                                                  11
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Council on Measurement in Education – authoritative organizations in his field – which emphasize

that “[t]ests selected for use in psychological testing should be suitable for the characteristics and

background of the test taker” and “[t]he professional should also take into account the availability

of norms and evidence of validity for a population representative of the test taker.” See Ex. H,

relevant pages from American Educational Research Association, American Psychological

Association, & National Council on Measurement in Education (Eds.), Standards for educational

and psychological testing (2014) (“AERA Standards”) at 165; see also Ex. G, Vega Dep. Vol. II

at 423:16-426:4. Indeed, Dr. Vega agrees that “[d]iagnostic conclusions based on test performance

of non-English speakers may be highly inappropriate, particularly if there are no demographically

adequate normative data available.” Ex. G, Vega Dep. Vol. II at 410:19-411:1.

               2.      Dr. Vega’s test selection yielded unreliable and irrelevant results

       Despite acknowledging these principles for neuropsychological testing, the testing Dr.

Vega employed in these cases did not have appropriate normative groups by which to measure

Plaintiffs’ performance and, as a result, yield unreliable results that should be kept out of the

courtroom. Dr. Vega chose to administer to Plaintiffs the Batería III to measure each Plaintiff’s

General Intellectual Ability (“GIA”). Dr. Vega also administered other neuropsychological tests

to assess specific areas of function, including memory, verbal fluency, attention, visual-motor

integration, learning, and behavior. The administration of these tests varied among the Plaintiffs

based on age at the time of testing and these specific tests are identified in each of his reports for

the individual Plaintiffs. These tests, however, were not normed to a group comparable to

Plaintiffs’ circumstances.




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       Plaintiffs are Peruvian, having been born, and in most instances raised, in La Oroya, a town

in the Andean Highlands at an altitude of over 12,000 feet.11 They live in homes where, although

they speak Spanish, they speak a dialect known as “Andean Spanish,” which has distinct

pronunciation characteristics and is influenced by the indigenous Quechua language. See Ex. D,

Appendix A Morote Report 11/26/2019 at 4. While the reference group for the Batería III from

which the normative comparisons are derived included some individuals from Spanish-speaking

countries, it did not include individuals living in Peru. And of the 1,413 individuals included in

the reference group, less than 8 individuals were even born in Peru, and all of them resided in

the United States, where they inherently had a bilingual environment. See Ex. J, Schrank, F.A., et

al. (2005). Batería III Woodcock-Muñoz: Assessment service bulletin number 1, overview and

technical supplement. Itasca, IL: Riverside Publishing at 14. Most of the other tests Dr. Vega

administered to Plaintiffs also lacked normative data for Peruvians, and none had such data for

individuals under age 18. See Ex. G, Vega Dep. Vol. II at 421:17-422:19.

       As a result, Dr. Vega has no measure of how non-lead-exposed individuals in a similarly-

situated community in Peru – the relevant comparator group – perform on the same battery of

tests. Without an appropriate comparison group, Dr. Vega’s results cannot reliably reflect the

cognitive and behavioral function of any of the Plaintiffs. Indeed, when “no normative or validity

studies are available for a relevant population, test interpretation should be qualified and presented

as hypotheses rather than conclusions.” AERA Standards at 165 (emphasis added). Dr. Vega,

however, did exactly the opposite, instead offering misplaced conclusions:

       Q:      And is it fair to say that in your reports in this case you present no
               interpretations as mere hypotheses, you present them all as conclusions,
               correct? To a reasonable degree of neuropsychological certainty…


11
  Cognitive development can be impacted by growing up at high altitude. See Ex. I, Expert
Report of Dr. William Banner for J.J.E.C. 11/26/2019 at 17.
                                                 13
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       A:      That’s correct.

Ex. G, Vega Dep. Vol. II at 425:16-426:4 (emphases added).

       The issues with Dr. Vega’s test selection do not stop there. Critically, Dr. Vega failed

entirely to account for various other serious weaknesses and flaws in the Batería III. The Batería

III consists of various subtests that are then utilized to calculate an individual’s GIA. The raw data

from Dr. Vega’s testing reveals that all Plaintiffs scored quite poorly on one particular subtest,

known as the Visual Auditory Learning subtest. Id. at 520:16-521:3; Ex. D, Appendix A Morote

Report 11/26/2019 at 8. Just like how a test that all the students fail says more about the teacher

than the students, these results should be a red flag for any neuropsychologist, because it

demonstrates that an aspect of the test is not an appropriate instrument to evaluate this population.

Nonetheless, Dr. Vega never further examined this issue to determine whether there could be a

cultural or language concern with this portion of the test that is driving down Plaintiffs’ GIA

scores. Nor did he even make mention of this issue in his reports. And, unbelievably, he was

completely unaware that this particular subtest has, in fact, since been removed from the

calculation of an individual’s GIA score in a newer version of the test. Ex. G, Vega Dep. Vol. II

at 521:4-7.

       Dr. Vega attempts to support his selection of the Batería III by citing to interviews he

conducted with education and healthcare personnel in the La Oroya area, stating that “[i]n order

to account for ‘fairness in testing’ as recommended by the ITC [International Test Conference],

the test battery was selected following several in-person interviews with healthcare providers

(primary care physician, nurse practitioner, school psychologist, etc.) and educational specialists

(e.g., school administrators and teachers) that were currently working in the local medical clinic

and schools within the affected area, La Oroya, Peru.” E.g., Ex. F, Vega G.S.A.Y. Report

2/18/2019, at Appendix A, p. 1. But these interviews are nothing more than window dressing.

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While his reports include summaries of these meetings, they offer no explanation or rationale for

his methodology other than conclusory statements such as “[c]onsequently, the comparison

between the battery of tests selected and academic curriculum was deemed appropriate” regarding

any of the summarized interviews. Id. at Appendix A, p. 2. And while Dr. Vega discusses what he

learned from these meetings, he provides no explanation as to how these interviews with these

various individuals, some of whom requested not to be identified by name,12 supported his decision

to select the battery of neuropsychological tests he administered to Plaintiffs or how they led him

to conclude that his selections were appropriate. In other words, Dr. Vega fails to demonstrate how

he relied upon his interviews in La Oroya to aid in his test selection for Plaintiffs, if at all. Because

Dr. Vega cannot demonstrate that he relied on these interviews in any meaningful way, any

reference to the interviews should be excluded.

        That Dr. Vega’s work yielded unreliable results is apparent when looking at the results of

the intelligence test administered by Defendants’ expert neuropsychologist, Dr. Gloria Morote, a

native of Peru. Dr. Morote administered the Wechsler intelligence scales to obtain an “IQ” score

for each Plaintiff. “IQ” is the measurement of intelligence that appears in the literature assessing

lead’s potential impact on cognition, and the Wechsler scales often are utilized to obtain such a

measurement. See, e.g., Ex. K, Report of Dr. Barbara Beck (“Beck Report”) 11/26/2019 at 15. As

reflected in the chart below, the IQ scores from Dr. Morote’s assessments are, on average, about

25% higher (range 4%-32%) than Dr. Vega’s GIA scores13 and generally are commensurate with

the Plaintiffs’ academic achievement and real-world accomplishments, as outlined in Dr. Morote’s


12
   While Plaintiffs’ counsel ultimately identified the individuals interviewed by Dr. Vega, they
declined to make them available for deposition or put Defendants in touch with them.
13
   “IQ” scores obtained from administration of the Wechsler intelligence tests and the “GIA”
scores from the Batería III both utilize scales for cognitive function that have a mean of 100 and
a standard deviation of 15. See Ex. D, Appendix A Morote Report 11/26/19 at 10; see also Ex. F,
Vega G.S.A.Y. Report 2/18/2019 at 7.
                                                   15
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reports:

            Plaintiff               Wechsler IQ           Batería III      Score Difference on
                                                             GIA                Wechsler
 G.S.A.Y.                                 96                  79                    +17
 S.R.B.C.                                 81                  65                    +16
 G.C.S                                    95                  77                    +18
 N.K.C.V.                                 92                  77                    +15
 J.R.E.L.                                100                  72                    +28
 R.L.E.Y.                                 91                  73                    +18
 J.J.E.C.                                102                  76                    +26
 D.F.G.C.                                 87                  83                    +4
 Y.Y.H.E.                                107                  82                    +25
 A.T.M.C.                                100                  89                    +11
 M.X.O.R.                                 75                  43                    +32
 E.E.P.S.                                100                  87                    +13
 D.D.P.S.                                 84                  70                    +14
 J.R.R.B.                                 85                  70                    +15
 W.F.T.P.                                104                  81                    +23
 R.A.Y.A.                                 97                  78                    +19

See generally Morote Expert Reports 11/26/2019.

         Dr. Vega deviated from his own stated “objectives” and the accepted methodology for

selecting a reliable measure of Plaintiffs’ cognitive and behavioral function. His opinions based

on those results are entirely unreliable and inadmissible. See Junk v. Terminix Int'l Co., 628 F.3d

439, 448 (8th Cir. 2010) (holding that the expert’s “failure to follow his own general practice and

his reliance on unfounded assumptions in his comparative method created ‘too great an analytical

gap’ between his opinion and the data on which it relied”) (quoting General Electric Co. v. Joiner,

522 U.S. 136, 146 (1997)).




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               3.       Dr. Vega ignores Plaintiffs’ real-world achievements, which
                        contradict his testing results and underscore the lack of reliability and
                        objectivity in his results

       Under generally accepted neuropsychological testing guidance, when interpreting test data,

an examiner must consider all aspects of the tested individual’s performance and integrate data

from collateral sources and environmental context in drawing conclusions. See American

Psychological Association, Guidelines for Psychological Assessment and Evaluation at Guideline

1 (March 2020). Consistent with these standards, Dr. Vega testified that when evaluating the

results of neuropsychological testing, “there’s always a comparison of all the measures, IQ and

academic achievement, absolutely.” Ex. L, 5/10/2019 Deposition of Dr. Clemente Vega, Psy.D.,

Vol. III (“Vega Dep. Vol. III”) at 748:3-5. But Dr. Vega entirely ignores significant facts relating

to Plaintiffs’ real-world achievement – a failure that calls into question his interpretation of the

results of his cognitive testing and demonstrates that he did not utilize a generally-accepted and

reliable methodology.

       When confronted with glaring discrepancies between Plaintiffs’ GIA scores and their real-

world academic performance or achievements in schooling or vocation, Dr. Vega either ignores or

attempts to explain away the contradictory findings. He never even considers the possibility that

some of the test scores he obtained may not be an accurate reflection of Plaintiffs’ cognitive

abilities. Instead, for many Plaintiffs, Dr. Vega’s reports contain the following conclusory

statement based solely on ipse dixit: “Test results show performance on academic tasks that is

commensurate with [plaintiff’s] cognitive capacity.”14 E.g., Ex. M, Expert Report of Dr. Vega for

J.J.E.C.(“Vega J.J.E.C. Report”) 2/18/2019 at 6. Dr. Vega’s work in this respect bears the hallmark



14
  Dr. Vega’s Expert Report for J.J.E.C. presents a GIA score in the Borderline range for cognitive
function while the majority of his Academic Achievement scores range from Average to Superior.
See Ex. M, Vega J.J.E.C. Report 2/18/2019 at 5-6.
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characteristics of an advocate piece based on junk science, rather than the work of a true scientist

utilizing a reliable methodology. See Hoffman v. Monsanto Co., 2:05-cv-00418, 2007 WL

2984692, at *3 (S.D. W.Va. Oct. 11, 2007) (when experts “have developed their opinions expressly

for purposes of testifying,” it casts doubt upon the reliability of their testimony).

       For example, when asked how R.A.Y.A., whom Dr. Vega diagnosed with borderline

intelligence, was performing almost completely in the average range across all academic areas,

Dr. Vega offered without any basis or explanation that some occasional tutoring must explain the

academic achievement despite the low cognitive capacity. Ex. L, Vega Dep. Vol. III at 749:14-

753:25. Dr. Vega’s failure to acknowledge Plaintiffs’ real-world accomplishments is also clear in

his assessment of J.J.E.C. Dr. Vega opined that J.J.E.C. has borderline intelligence, but J.J.E.C.

has been pursuing a degree in architecture at the Universidad Nacional del Centro de Peru in

Huancayo. See Composite Ex. C, Morote Expert Reports, Morote J.J.E.C. Report 11/26/2019 at

5. When asked whether he had ever encountered a patient in his clinical practice who had scored

so low in general cognitive ability yet was attending college and pursuing such a degree, Dr. Vega

defended his position by stating that he has had patients of borderline intelligence who attend

college in the United States with academic support. See Ex. L, Vega Dep. Vol. III at 938:7-944:6.

But when then questioned about whether J.J.E.C. was receiving academic support, Dr. Vega

pivoted to discuss the differences between entrance exam skill requirements for architecture and

those of civil engineering (a program J.J.E.C. pursued initially) and avoided responding to whether

or not J.J.E.C. had received support in college (or even whether he had inquired about it). Id. at

944:7-946:10. Notably, however, Dr. Vega testified that he was “not familiar … with the exams”

and had done no investigation to ascertain the necessary information regarding the entrance exams

or level of difficulty of J.J.E.C.’s program of study. Id. The reality is that university admission is



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very competitive and selective in Peru with only about 50% of students passing required entrance

exams.15 See Ex. E, Martinez-Fernandez Report 11/26/2019 at 13. This is just one of many

examples of Dr. Vega’s ipse dixit-based testimony, which renders his opinions regarding J.J.E.C.’s

diagnosis of borderline cognitive ability inherently unreliable and based on a biased and

incomplete assessment.

       When confronted with similar evidence that the academic achievement and performance

of other Plaintiffs was in stark contrast to the low cognitive capacity scores in his assessments, Dr.

Vega would not even entertain the idea that his test results may not accurately reflect Plaintiffs’

true cognitive capacity. Instead, Dr. Vega provided the following nonsensical explanation: “part

of the explanation for an IQ score being lower, but the academic achievement scores being higher,

that’s not an issue with the test. That’s an issue with the etiology…Well, lead - it’s part of that.”

Ex. L, Vega Dep. Vol. III at 760:10-761:13. For Dr. Vega, lead is to blame for everything, even

the inability of his tests to accurately measure Plaintiffs’ intellectual abilities. Dr. Vega simply

ignores data that is contrary to his preconceived opinions and cannot explain the inconsistencies

in the results of his assessments when confronted with the incontrovertible facts of Plaintiffs’

real-life achievements and successful academic performance. This is wholly impermissible. See

In re Mirena IUS Levonorgestrel-Related Prod. Liab. Litig., 341 F. Supp. 3d 213, 260 (S.D.N.Y.

2018), aff’d sub nom. In re Mirena IUS Levonorgestrel-Related Prod. Liab. Litig. (No. II), 982

F.3d 113 (2d Cir. 2020) (excluding plaintiffs’ experts’ testimony because Daubert does not allow

“conclusion-driven” analysis).

       In addition to ignoring significant collateral data and context that would call his test scores


15
   By comparison, nearly 70% of high school students in the U.S. enroll in college in 2018. See
Nat’l Ctr. for Educ. Statistics, Immediate transition to college, at
https://nces.ed.gov/fastfacts/display.asp?id=51 (last visited 11/8/2021).


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into question, Dr. Vega even disregards red flags that suggested he may have invalid results during

the scoring of his tests:

        Q.      Okay. And this says: “The number of omission errors made by the respondent is
                highly unusual;” do you see that?

        A.      Yes.

        Q       “Although such a high number of omissions may indicate a clinical impairment,
                there are other possibilities that may relate to the validity of the test;” do you see
                that?

        A.      Yes.

        Q.      “For example, the respondent may have been fatigued, misunderstood the
                instructions, or lacked the motivation to respond with full effort.” Did I read that
                correctly?

        A.      Yes.

        Q.      And then … it says: “Observations made of the respondent during the
                administration, as well as other data regarding the respondent, will help in assessing
                the validity of the administration. Also note that one or more scores could not be
                completed due to too few hits. The respondent may have disengaged from the task
                for a significant period of time during the administration. As a result, some
                interpretive text may be unavailable.” Did I read that correctly?

        A.      Yes.

        Q.      It says: “Readministration of the Conners CPT 3 is strongly recommended;” do you
                see that?

        A.      Yes.

        Q.      None of that’s included in your report, correct?

        A.      None of what?

        Q.      Anything that’s in that paragraph.

        A.      Other than scores, none of –

        Q.      Right.

Ex. G, Vega Dep. Vol. II at 564:14-565:25.

        Dr. Vega’s failure to adhere to the proper methodology for interpreting test data – including


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his deliberate failure to resolve inconsistencies in the testing and to consider Plaintiffs’ real-life

academic achievements – demonstrates that his opinions regarding Plaintiffs’ cognitive function

and abilities are “conclusion-driven” and unreliable.

               4.      Dr. Vega inappropriately proffers age and grade equivalencies to
                       further diminish Plaintiffs’ level of cognitive function

       Dr. Vega’s reports also include conclusory, standalone statements like: Plaintiff’s “overall

cognitive ability is below age expectations and is in the Borderline range on the basis of a

standardized intellectual battery.” E.g., Ex. B, Vega J.R.E.L. Report 2/18/2019 at 13. As discussed

supra at Section I., p. 2, Dr. Vega concluded from his test results that 16-year-old J.R.E.L. was

functioning “at a 9 year, 5-month-old level.” Id. at 13. Further, he assessed that his “academic

development also appears to be below age expectation, with academic skills estimated to be

between a sixth and seventh grade level. His functional capacity for more advanced academic

skills, such as reading comprehension and written language expression, are even further depressed

– estimated to be at fifth and fourth grade levels, respectively.” Id. at 14. J.R.E.L.’s subsequent

real-world accomplishments, which include attending university, maintaining a full-time job, and

caring for his young daughter, among other things, belie this grossly exaggerated finding.

       Another illustrative example is N.K.C.V., who Dr. Vega claimed was functioning at a 7

year, 11-month-old level and between a third and fifth grade level, despite being 11 years and 7

months old (and attending seventh grade) at the time of his testing in 2016. Ex. N, Expert Report

of Dr. Vega for N.K.C.V. (“Vega N.K.C.V. Report”) at 1, 14. In reality, N.K.C.V. completed her

primary school education that same year without repeating any grades and with high grades

throughout the duration – earning a combination of “As” and “ADs” every year in her courses.

PLF-892D-NKCV-0092; PLF-892D-NKCV-0387-89; PLF-892D-NKCV-0636. In 2017, she was

second overall in her grade in secondary school (Ex. O, 6/22/17 Deposition of N.K.C.V.


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(“N.K.C.V. Dep.”) at 29:2-4) and had aspirations of attending university to become a doctor (id.

at 14:7-10, 19-20)—a goal her father fully believes she can accomplish. Ex. P, 6/21/17 Deposition

of Father of N.K.C.V. (“N.K.C.V. Father Dep.”) at 82:5-9. When interviewed in 2019 by

Defendants’ experts, she reported continued positive academic performance and being on track to

graduate high school in two years, before moving on to a career in nursing. Composite Ex. C,

Morote Expert Reports, Report for N.K.C.V. (“Morote N.K.C.V. Report”) 11/26/2019 at 4, 17. As

J.R.E.L.’s, N.K.C.V.’s, and other Plaintiffs’ actual life situations demonstrate, this type of

demeaning, misleading testimony about Plaintiffs’ level of cognitive functioning should be

excluded.

       Unsurprisingly, it is generally accepted in the medical, scientific, and educational

communities that utilizing age and/or grade equivalencies to characterize an individual’s level of

cognitive functioning is grossly misleading and not useful. See Ex. D, Appendix A Morote Report

11/26/2019 at 20-22. Even Dr. Vega agreed on deposition that age and grade equivalency scores

have inherent problems with reliability and validity and that standard scores are a better

representation of an individual’s cognitive ability. Ex. G, Vega Dep. Vol. II at 533:3-534:5. He

also concedes these data points can be misleading when presented in “isolation.” Id. at 544:15-21.

       Dr. Vega should not be permitted to deviate from accepted standards in his profession by

presenting selective age and grade equivalency data to the jury. Not only is Dr. Vega’s sporadic

and inconsistent inclusion of age and grade equivalencies in his reports contrary to well-accepted

standards, but his opinions are even more unreliable because they are based on age/grade

equivalency data from a population in the United States, without any accompanying analysis to

demonstrate that such values accurately reflect the educational framework in Peru or are an




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appropriate comparison for Plaintiffs. Id. at 530:13-23. In fact, they are not. E.g., Ex. E, Martinez-

Fernandez Report 11/26/2019 at 17-19.

       Expert testimony is inadmissible when it is excessively speculative or unsupported by

sufficient facts. Onyiah v. St. Cloud State Univ. 684 F. 3d 711, 710 (8th Cir. 2012) (quoting Barrett,

606 F. 3d at 981); see also Marmo, 457 F.3d at 757 (“Expert testimony is inadmissible if it is

speculative, unsupported by sufficient facts, or contrary to the facts of the case.”). Here, Dr. Vega’s

opinions regarding age and grade equivalencies should be excluded as they are based on improper

methodology, and are entirely speculative, misleading, and of no use to the fact finder. Allowing

Dr. Vega to testify about the individual Plaintiffs’ age and/or grade equivalencies would be highly

misleading and extremely prejudicial. FED. R. EVID. 403.

       B.      Dr. Vega’s Opinion That Lead Exposure Caused Plaintiffs’ Cognitive and
               Behavioral Injuries Is Unreliable

       Dr. Vega opines not only that each Plaintiff has certain cognitive and behavioral deficits,

but that those deficits were caused by his or her exposure to lead. In a toxic tort case, proof of

causation requires a showing of both general causation, “that the alleged toxin is capable of causing

injuries like that suffered by the plaintiff in human beings subjected to the same level of exposure

as the plaintiff; and specific causation, that the toxin was a cause of the plaintiff’s injury.” Mattis

v. Carlon Elec. Prod., 295 F.3d 856, 860 (8th Cir. 2002). Without first demonstrating general

causation, one cannot offer an opinion on specific causation (that lead caused Plaintiffs’ cognitive

and behavioral maladies). See Brumbaugh v. Sandoz Pharm. Corp., 77 F. Supp. 2d 1153, 1155, n.

1 (D. Mont. 1999) (noting that specific causation is only material “if plaintiff can demonstrate

general causation between Parlodel and her injury”).

       Dr. Vega’s causation opinions are inadmissible on multiple levels. For starters, Dr. Vega

is wholly unqualified to offer any causation opinion. But even putting that aside, Dr. Vega fails to


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follow any discernible methodology in arriving at his causation opinions, both general and specific.

Put simply, Dr. Vega’s “methodology” in arriving at his causation opinions is: (1) literature shows

lead is associated with certain cognitive and behavioral deficits; (2) he has diagnosed cognitive

and/or behavioral deficits in each Plaintiff based on his neuropsychological testing; (3) Plaintiffs

have been exposed to lead based on measured blood lead levels or another of Plaintiff’s experts

modeling; and (4) therefore lead exposure caused each of Plaintiffs’ injuries. This type of

syllogism is insufficient to prove causation. See, e.g., Amorgianos v. National Railroad Passenger

Corp., 137 F.Supp.2d 147 (E.D.N.Y. 2001) (“Even when an appropriately designed study yields

evidence of a statistical association between a given substance and a given health outcome,

epidemiologists generally do not accept such an association by itself as proof of a causal

relationship between the exposure and the outcome . . . [and instead] generally look to [the

Bradford Hill] criteria to determine whether a statistical association is indeed causal.”) (emphasis

added.) In fact, Dr. Vega does not even know the difference between general causation and specific

causation, often conflating them in his analysis:

       Q:      And when you say [lead is] sufficient to cause [Plaintiffs’ injuries], that doesn’t
               mean it did. It just means that it had the capability of causing. That—that sentence
               in isolation.

       A:      So that—that’s that-that sentence means this level is known to be associated with
               really significant impact, and that’s what we’re seeing. That’s right.

                                                     ***

       A:      So when we’re talking about reasonable degree of neuropsychological certainty,
               the threshold that I’m using is—is looking at the available data and—and the
               relationship between that. So there’s a –the exposure was—was sufficient to cause
               what –what I’m seeing as the problem.

Ex. L, Vega Dep. Vol. III at 850: 6-13, 850:19-24.




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               1.      Dr. Vega lacks the necessary qualifications and expertise to offer
                       causation opinions

       For an expert’s testimony to be admissible, the proposed expert must first be qualified to

assist the fact finder. Fed. R. Evid. 702; Johnson, 754 F.3d at 561. Dr. Vega, however, has no

qualifications or expertise to offer either a general or specific causation opinion. He is not an

epidemiologist or toxicologist. Ex. A, Vega Dep. Vol. I at 91:5-24. Nor is he a medical doctor. Id.

And not being a medical doctor, he is wholly unqualified to offer medical causation opinions. See,

e.g., In re Viagra Prods. Liab. Litig., 658 F. Supp. 2d 950, 960 (D. Minn. 2009) (holding that

epidemiologist was not qualified to offer a specific causation opinion that Viagra caused the

plaintiff’s vision loss because he was “not a medical doctor”). Indeed, Dr. Vega has practically no

experience with lead-exposed patients, having evaluated only three patients during his career with

any identifiable history of lead exposure. Ex. A, Vega Dep. Vol. I at 67:15-22. And none of his

patients over the course of his professional career resemble Plaintiffs in these cases. He has had

no patients who are indigenous Peruvians, none that have lived at similar altitudes, none that have

resided in or near a smelting community, and none who had similar living conditions to some of

the Plaintiffs, such as a lack of indoor plumbing. See Ex. L, Vega Dep. Vol. III at 998:8-999:21.

Dr. Vega has no publications, presentations, research, or writings specific to lead exposure and its

consequences or for any other neurotoxin for that matter. See Ex. A, Vega Dep. Vol. I at 84:6-22.

Simply put, being a psychologist who speaks Spanish is not enough to be an expert on lead’s

potential impacts on health.

               2.      Dr. Vega employs no discernible methodology in arriving at his
                       general causation opinions

       Even if Dr. Vega were qualified to testify regarding the possible health effects of lead

exposure, he employs no methodology at all in reaching conclusions about the ability of lead to

affect cognitive function. He relies only on a general knowledge of the literature as part of his

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“training” and on the report of another Plaintiffs’ expert, Dr. Bellinger.16 See Ex. A, Vega Dep.

Vol. I at 47:4-21. In his reports, Dr. Vega cites to zero studies regarding lead exposure and

purported cognitive or behavioral effects. And he offers no documented analysis of how he arrives

at his conclusion that Plaintiffs’ alleged injuries are consistent with “the known consequences of

children exposed to lead.” E.g., Ex. F, Vega G.S.A.Y. Report 2/18/2019 at 16.

       This lack of work runs contrary to the well-established requirement that an expert’s

opinions must be based on “some recognized scientific method.” Clark v. Takata Corp., 192 F.3d

750, 759 n.5 (7th Cir. 1999). Further, an expert must base his opinion upon his own application of

principles within his expertise to the case facts. Hill v. Fikes Truck Line, LLC, No. 4:11-CV-816,

2012 WL 5258753, at *3 (E.D. Mo. Oct. 24, 2012) (citing Quiles v. Bradford–White Corp., 2012

WL 1355262, at *7 (N.D.N.Y. Apr. 18, 2012)). And, Dr. Vega’s failure to document any work he

may have done in his report violates Rule 26(a)(2)(B), which requires that an expert report contain

“‘a complete statement of all opinions to be expressed and the basis and reasons therefore’ and

‘the data or other information considered by the witness in forming the opinions.’” Mems v. City

of St. Paul, Dept. of Fire and Safety Servs., 327 F.3d 771, 780 (8th Cir. 2003) (affirming exclusion

of expert testimony where report did not contain a complete statement of all opinions); see also

Ciomber v. Coop. Plus, Inc., 527 F.3d 635, 641 (7th Cir. 2008) (expert’s report “must include the

‘how’ and ‘why’ the expert reached a particular result, and not merely the expert’s conclusory

opinions”).

       Nor does Dr. Vega do any work to leap from a reported association between lead exposure

and cognitive injury in the literature to causation. The generally accepted methodology for



16
  Of note, the literature cited by Dr. Bellinger assesses the “IQ” of individuals, a different
measurement than that utilized by Dr. Vega, who assessed each Plaintiff’s GIA.

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evaluating whether an association is causal is application of the Bradford-Hill criteria.17 See

REFERENCE MANUAL ON SCIENTIFIC EVIDENCE (3d ed. 2011), pp. 597-600; see also Gannon v.

United States, 292 F. App’x 170, 173 n. 1 (3d Cir. 2008) (“Bradford Hill criteria are broadly

accepted criteria for evaluating causation”); In re Avandia Mktg., Sales Practices and Prods. Liab.

Litig., 2011 WL 13576, at *3 (E.D. Pa. Jan. 4, 2011) (“Bradford–Hill criteria are used to assess

whether an established association between two variables actually reflects a causal relationship.”).

But Dr. Vega does not even know what the Bradford-Hill criteria are:

       Q.      … [W]hat are the elements of the Bradford-Hill Criteria?

       A.      Sure, so to my understanding of it is it’s related to the, you know, the available
               information that, for, so an example of a neuropsychology expert, the available
               information that is used to formulate or support the opinion or the perspective,
               that’s a general understanding.

       Q.      Other than that, you can’t provide any further testimony about what the Bradford-
               Hill Criteria are, is that fair?

       A.      That’s correct.

Ex. A, Vega Dep. Vol. I at 233:17-234:3. In fact, rather than admit he does not know what the

Bradford-Hill criteria are, Dr. Vega instead offered meandering testimony that was simply

incorrect.

       Dr. Vega obviously did not reach a conclusion on causation by following any methodology,

much less a proper one, since he could not articulate what a proper methodology is or even describe

or list any of the Bradford-Hill criteria. District courts have excluded experts who have not

addressed the Bradford-Hill criteria, or similar criteria, in addressing a causation inquiry. In re

Breast Implant Litig., 11 F. Supp. 2d 1217, 1233 n. 5 (D. Colo. 1998); see also REFERENCE


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   The Bradford-Hill factors are: (1) temporal relationship; (2) strength of association; (3) dose-
response relationship; (4) replication of findings; (5) biological plausibility; (6) consideration of
alternative explanations; (7) cessation of exposure; (8) specificity of association; and (9)
consistency with other knowledge. REFERENCE MANUAL at 600.
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MANUAL at 597-600; Gannon 571 F. Supp. 2d 615, 641 (E.D. Pa. 2007) (rejecting proposed

general causation testimony where the plaintiff’s experts failed to show that the Bradford Hill

criteria had been met), aff’d, 292 F. App’x 170 (3d Cir. 2008); Miller v. Pfizer, Inc., 196 F. Supp.

2d 1062, 1069 (D. Kan. 2002) (excluding general causation testimony of expert who misapplied

or failed to address Koch’s postulates, a set of criteria comparable to the Bradford-Hill criteria),

aff’d, 356 F.3d 1326 (10th Cir. 2004).

       Finally, experts are not permitted to simply “parrot” the opinions of other experts. Hill,

2012 WL 5258753, at *4. An expert cannot merely rely on the analysis and opinions of another

expert without examining the underlying data himself. See Metropolitan St. Louis Equal Hous.

Opportunity Council v. Gordon A. Gundaker Real Estate Co., 130 F. Supp. 2d 1074, 1088 (E.D.

Mo. 2001) (excluding expert testimony because the expert tried to rely on data sets collected by

others without reviewing them to ensure accuracy). When an expert bases his opinion on the

unreliable opinions of another expert, then his opinion is also unreliable. See Junk, 628 F.3d at 449

(finding that an expert’s opinion was properly excluded when it relied on the excluded opinion of

another expert). Dr. Vega did no analysis or research of his own regarding lead’s effect on

cognitive function. Rather, in his reports, he relies entirely on Dr. Bellinger’s report and his

conclusions on general causation. See Ex. F, Vega G.S.A.Y. Report 2/18/2019 at 16 (“[Plaintiff’s]

neuropsychological sequelae and resultant impairments in cognitive, academic, behavioral, and

emotional functioning identified in the current evaluation are consistent with the known

consequences of children exposed to lead, which are well documented by epidemiological studies

published in the medical literature, and are described in more detail by Dr. David Bellinger in his

report.”). Not only is this improper, but as shown in Defendants’ Motion to Exclude Dr. Bellinger’s




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Testimony, Dr. Bellinger’s own methodology suffers from serious flaws, and his opinions should

be excluded or limited.

               3.      Dr. Vega did not employ a proper methodology in arriving at his
                       specific causation opinions

       Moving from general to specific causation, it is well established that undertaking a

thorough and reliable differential diagnosis is key to determining specific causation. Kudabeck v.

The Kroger Co., 338 F. 3d 856,862 (8th Cir. 2003). Such a diagnosis requires that the expert

analyze all potential causes of an injury and then rule out the least likely until the most probable

cause of injury can be identified. “The reliability of a specific causation opinion requires the

proffered expert to consider and rule out other likely causes of the plaintiff’s alleged ailment, i.e.,

to perform a proper differential diagnosis.” Simon v. Select Comfort Retail Corp., No. 4:14-CV-

1136 JAR, 2016 WL 160643, at *5 (E.D. Mo. Jan. 14, 2016). “A differential etiology rules in

plausible causes and then systematically rules out less plausible causes until a most plausible cause

emerges. A medical causation opinion based upon proper differential etiology ‘is acceptable

causation testimony under Daubert.’” Kirk, 887 F.3d at 392 (8th Cir. 2018) (quoting Johnson v.

Mead Johnson & Co., LLC, 754 F.3d 557, 560 n.2 (8th Cir. 2014)). However, “[w]hen an expert’s

differential analysis fails to rule in exposure to the alleged cause at issue (general causation) and

fails to rule out other possible causes, the specific causation opinion is not sufficiently reliable and

should be excluded.” Id. (citing Bland v. Verizon Wireless, LLC, 538 F.3d 893, 897–98 (8th Cir.

2008) (emphasis in original)).

       The Eighth Circuit has cautioned that the medical community and legal community have

different understandings of what a proper “differential diagnosis” entails. See Turner v. Iowa Fire

Equip. Co., 229 F.3d 1202, 1208 (8th Cir. 2000). While in medicine a “differential diagnosis”

means “a systematic comparison of symptoms to determine which of two or more conditions is


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the one from which a patient is suffering,” id. (citing STEDMAN’S MEDICAL DICTIONARY 474 (26th

ed. 1995)) (emphasis in original), legally, it means “a technique to identify the cause of a medical

condition by eliminating the likely causes until the most probable cause is isolated.” Scott v. Dyno

Nobel, Inc., No. 4:16-CV-1440 HEA, 2021 WL 1750238, at *7 (E.D. Mo. May 4, 2021) (emphasis

in original) (ruling that expert’s causation opinion was inadmissible based on “his failure to

properly consider and rule out other possible causes of [Plaintiff’s] injuries”).

       In Rucker v. Drake, the court held that a neuropsychologist’s causation testimony was

inadmissible, in part, because it went beyond the scope of the neuropsychologist’s qualifications

and because she did not demonstrate that she had conducted a valid differential diagnosis:

       Although Dr. Carusa avers in her affidavit that she considered and excluded all
       possible causes of [plaintiff’s] current cognitive deficits except for the boat accident
       … there is no presentation, either in her expert report or in her affidavit, that Dr.
       Carusa systematically ruled in all scientifically plausible causes of [plaintiff’s]
       cognitive deficit, and then ruled out “the least plausible causes of injury until the
       most likely cause remains.”

No. 4:00-CV-1369, 2001 WL 36095910, at *3 (E.D. Mo. Dec. 13, 2001) (quoting Glastetter, 252

F.3d at 989); see also Clausen v. M/V New Carissa, 339 F.3d 1049 (9th Cir. 2003) (“A district

court is justified in excluding evidence if an expert ‘utterly fails … to offer an explanation for why

the proffered alternative cause’ was ruled out”). The Eighth Circuit has noted that while “it may

be that this sort of reasoning could pass muster in some cases where the obvious result explains

the etiology (for example, where a fractured bone accompanied by bruised skin and flesh

demonstrate that some type of physical contact caused the injury), such reasoning cannot apply

here where several possible causes could have produced one effect.” Sorensen by and through

Dunbar v. Shaklee Corp., 31 F.3d 638, 649 (8th Cir. 1994).

       Dr. Vega even recognizes that to assess whether exposure to something like lead causes a

particular neuropsychological problem, one must assess and rule out other possible etiologies of


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the condition and that this includes an analysis of a variety of different data points, including

medical history, academic history, etc. Ex. A, Vega Dep. Vol. I at 227:21-229:1. Further, Dr. Vega

testified that the purpose of a differential diagnosis is to rule out other possible explanations for an

individual’s conditions, and he acknowledges that there are a number of factors that may affect an

individual’s cognitive ability and function, including family history of disease or learning

disability, abuse, socioeconomic status, genetics, and educational background. Ex. L, Vega Dep.

Vol. III at 841:14-17; Ex. A, Vega Dep. Vol. I at 98:1-100:5. Even Plaintiffs’ general causation

expert, Dr. Bellinger, acknowledges the importance of such other factors on cognitive

development, all of which account for a greater impact than lead exposure. Ex. Q, Bellinger and

Rappaport, Developmental Assessment and Interventions, in MANAGING ELEVATED BLOOD LEAD

LEVELS AMONG YOUNG CHILDREN 79, 83 (Brit Harvey ed., 2002).

       Indeed, as courts in this Circuit have reasoned, “[a] differential diagnosis that fails to take

serious account of other potential causes may be so lacking that it cannot provide a reliable basis

for an opinion on causation.” Korte v. Mead Johnson & Co., 824 F. Supp. 2d 877, 897 (S.D. Iowa

2010) (emphasis added). And as the Eighth Circuit has held, an error occurs when “[i]nstead of

reasoning from known facts to reach a conclusion, the expert[] . . . reason[s] from an end result in

order to hypothesize what needed to be known but what was not.” Sorensen, 31 F.3d at 649.

       Yet Dr. Vega failed to conduct a proper differential diagnosis in arriving at his specific

causation opinions for Plaintiffs. In essence, Dr. Vega cannot “show his work” or explain how he

assessed the potential causes of Plaintiffs’ alleged cognitive and behavioral injuries and

systematically ruled them out to arrive at lead exposure as the most likely cause. For example, he

does not discuss anywhere in his reports the other factors impacting cognitive development in

relation to Plaintiffs’ cognitive and behavioral function. Nor does Dr. Vega even mention in his



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reports that he considered these other factors, even though he acknowledged they can (and do)

impact cognitive function. But in his deposition, he prevaricated on this point, stating that anything

about an individual Plaintiff’s history, family situation, socioeconomic status, etc. that he did not

mention in his reports he had actually considered and simply deemed it “noncontributory.” Ex. L,

Vega Dep. Vol. III at 868:25—870:11. Dr. Vega, however, offered no explanation in his reports

or deposition as to how he actually assessed these specific factors and ruled them out as

“noncontributory” for each Plaintiff. An expert’s bare assertion that he considered and excluded

other potential causes is not sufficient to render the differential diagnosis admissible.

       In fact, Dr. Vega cannot explain how he “considered” other relevant factors, because it is

clear from his testimony that in reaching his opinions he, in fact, did not consider—or deliberately

chose to ignore—numerous factors that are generally recognized as having a significant impact on

neurocognition and behavior. A few examples include:

   •   Dr. Vega admitted that verbal or physical abuse could have a “negative impact” on both

       behavior and academic performance and acknowledged that G.S.A.Y. reported being

       “afraid” of his father, but did not include a discussion of this in his report and was unaware

       of whether there was additional information regarding abuse for this Plaintiff. Id. at 814:8-

       815:2; see generally, Ex. F, Vega G.S.A.Y. Report 2/18/2019.

   •   Dr. Vega did not recall that M.X.O.R. testified that her concerns about whether her mother

       can provide for her family distracts her from her schoolwork. And he made no mention of

       how her mother’s physical and mental health problems could affect M.X.O.R. Ex. R,

       5/11/2019 Deposition of Dr. Clemente Vega, Psy.D., Vol. IV (“Vega Dep. Vol. IV”) at

       1053:1-21; see generally Ex. S, Expert Report of Dr. Vega for M.X.O.R.(“M.X.O.R.

       Report”) 2/18/2019.



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   •   Dr. Vega acknowledged that exposure to secondhand smoke could have an impact on

       cognitive development, and yet, despite testimony regarding J.R.E.L.’s exposure to

       secondhand smoke in the home, Dr. Vega makes no mention of it in his report. Ex. R, Vega

       Dep. Vol. IV at 1114:23-1115:1; 1116:13-24; see generally, Ex. B, Vega J.R.E.L. Report

       2/18/2019.

   •   R.A.Y.A. testified that the reason she had to repeat second grade was because of her

       parents’ separation. While Dr. Vega notes that R.A.Y.A. repeated second grade in his

       report, he makes no mention of the potential impact of her home life on her school work

       or attendance and instead indiscriminately attributes her retention in second grade to

       learning difficulties. Ex. G, Vega Dep. Vol. II at 687:13-17, 688:20-689:4; Ex. T, Expert

       Report of Dr. Vega for R.A.Y.A. (“Vega R.A.Y.A. Report”) 2/18/2019 at 3.

   •   Although Dr. Vega admits that socioeconomic status and home environment are important

       factors in assessing an individual’s IQ, he did not inquire of the Plaintiffs as to their

       physical home environment—i.e., whether they have dirt floors, how crowded the home is,

       etc. Ex. G, Vega Dep. Vol. II at 714:20-715:14, 716:5-9.

Dr. Vega also did not reevaluate any of his prior opinions based on Dr. Morote’s extensive findings

highlighting Plaintiffs’ successes both academically, personally, and professionally. Ex. U,

7/24/2020 Rebuttal Deposition of Dr. Clemente Vega, Psy.D.(“Vega Rebuttal Dep.”) at 44:22-

45:3. Such cherry-picking is the antithesis of proper scientific method. See Barber v. United

Airlines, Inc., 17 Fed. Appx. 433, 437 (7th Cir. 2001) (“Because in formulating his opinion Dr.

Hynes cherry-picked the facts he considered to render an expert opinion, the district court correctly

barred his testimony because such selective use of facts fails to satisfy the scientific method and

Daubert.”).


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       In sum, Dr. Vega’s specific causation opinions are based on searching for and finding data

points to support his preconceived notion that lead exposure caused Plaintiffs’ neuropsychological

and behavioral deficits. He actually said as much in his report: “[Plaintiff’s] medical history is

notable for exposure to lead in early childhood; therefore, results from this evaluation will assist

in determining whether he is currently experiencing any neurobehavioral effects consistent with

lead exposure.” Ex. F, Vega G.S.A.Y. Report 2/18/2019 at 1. He admitted that the blood lead levels

provided a strong hypothesis for “the entire profile” before he conducted his evaluations and

purportedly found deficits, “so I had the blood lead levels of a number of, of the plaintiffs while I

was, before I did the, the evaluations, so at that point there’s a strong hypotheses on one of the

possible explanations for the entire profile…” Ex. A, Vega Dep. Vol. I at 183:11-15 (emphasis

added)). In fact, when asked whether he could identify a single neuropsychological symptom that

was not caused by lead in any Plaintiff, he responded that: “[t]he plaintiffs in this case have a very

high level of lead exposure and that’s associated with cognitive impairments… The short answer

is no.” Ex. R, Vega Dep Vol. IV at 1099:3-14.

       Dr. Vega approached his assignment with a predetermined opinion that Plaintiffs had

suffered cognitive and behavioral deficits because of lead exposure. He conducted his analyses

and evaluations with that final opinion already settled in his mind. He cherry-picked the data that

supported his opinion and failed to consider any of the significant factors that would tend to go

against it. This is not proper scientific methodology, and his causation opinions are thus unreliable

and inadmissible.

       C.      Dr. Vega’s Opinion That It Was Specifically Emissions From “Defendants’
               Operations” That Caused Plaintiffs’ Conditions Is Pure Ipse Dixit

       Dr. Vega not only intends to testify that lead exposure caused Plaintiffs’ injuries, but that

it was specifically exposure to lead from DRP’s operations of the Complex. See, e.g., Ex. F, Vega


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G.S.A.Y. Report 2/18/2019 at 16. Even if the Court permits Dr. Vega to testify that lead exposure

caused Plaintiffs’ alleged cognitive and behavioral deficits, he should certainly not be permitted

to testify that lead emissions specifically from “Defendants’ operations” of the Complex caused

any such injuries. Dr. Vega simply has no qualifications whatsoever to offer an opinion about the

particular source of lead that caused a person’s injuries. He admittedly has no expertise in

toxicology, environmental contamination, smelting operations, air modeling, or evaluation of

environmental contamination. Ex. A, Vega Dep. Vol. I at 91:5-92:17. And he never endeavored in

his own practice to identify the manufacturer of the lead-containing paint to which his three

patients had been exposed; indeed, Dr. Vega acknowledged that this did not matter to his

assessment. Id. at 68:2-69:22.

       Dr. Vega also lacks any knowledge about DRP’s operation of the Complex that would

enable him to provide expert testimony that Plaintiffs’ exposures were attributable to the Complex

generally, or to DRP’s operations specifically. He undertook no analysis for reaching such an

opinion and, indeed, knows nothing about DRP’s operations other than what is contained in a

handful of company documents selected and provided by Plaintiffs’ counsel. Dr. Vega has no

knowledge of Defendants, who they are, who owned or operated the Complex, and how

Defendants interrelate to be able to opine reliably that “Defendants’ operations” caused Plaintiffs’

injuries. Id. at 135:8-15. He admittedly knows nothing about the history of the Complex’s

operations:

       Q:      Other than there being emissions from the smelting facility, do you know anything
               … else about the details of the operation of the plant on a day-to-day basis?

       A:      No.

                                                       ***

       Q:      Do you know anything about the operation of the facility prior to October of 1997?


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        A:      So in one of those reports there’s mention of the, a company called Centromin that
                was where Doe Run purchased—who they purchased it from, I don’t know if you
                say who, because it’s a company, but you know what I mean. So I know that.

        Q:      Do you know anything about how long Centromin operated the plant?

        A:      No.

        Q:      Do you know anything about the details of Centromin’s operations of the plant?

        A:      I do not.

Id. at 139:19-23; 139:25-140:13.

        Further, Dr. Vega has not employed any methodology – let alone a reliable one – by which

he could possibly attribute Plaintiffs’ lead exposure to operations that specifically occurred during

the time DRP owned and operated the Complex (October 1997 - June 2009). Dr Vega concedes

that the bases for his opinion that lead emissions from Defendants’ operations directly contributed

to cause Plaintiffs’ health problems merely comes from the information contained in Dr. David

MacIntosh’s and Dr. Jill Ryer-Powder’s reports. Id. at 143:12-20.

        Dr. Vega concedes that there are other sources of lead in the community to which Plaintiffs

could have been exposed, including leaded gasoline, pottery, and emissions from the Complex that

pre-date DRP’s acquisition. Id. at 164:8-24. He, however, conducted no analysis as to the potential

impact of lead from other sources in the community or from historical contamination attributable

to operators of the smelter before DRP. Id. at 143:12-20, 151:22-152:13. Dr. Vega also

acknowledges that those types of analyses are “just not, not what I do,” belying any notion that

he is at all qualified to opine as to the source of lead exposure at it pertains to these Plaintiffs. Id.

at 152:9-13. Admittedly, he did no analysis to quantify what percentage of Plaintiffs’

neuropsychological deficits may be attributed to DRP’s operation of the smelting facility as

opposed to another source: “So that, you’re asking me if I’ve done something that’s impossible,

so I so … I did a calculation of what it would be expected from a different source based on the

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data in a different study and what they presented, and that provides sort of a starting point …. So

I did it in a particular way, not in the way that you want me to do it I guess” Id. at 170:1-171:3.

But if he did actually do any such analysis, there is nothing in his reports to corroborate it:

       Q:      …And you would agree with me that there’s no analysis in your report quantifying
               the percentage of plaintiffs’ health problems that are associated with defendants’
               operations or the emissions from there?

       A:      There’s not nothing in the report that states that, that’s correct.

Id. at 171:6-12. Further, Dr. Vega concedes that he cannot say one way or another whether the

lead emitted before DRP’s ownership of the smelter facility, alone, was sufficient or

insufficient to cause the neuropsychological deficits allegedly suffered by the Plaintiffs. See Ex.

R, Vega Dep. Vol. IV at 1087:7-1090:11. Accordingly, Dr. Vega’s opinion that Plaintiffs’

exposure to lead— attributable to Defendants—caused their injuries is based on insufficient

data, and it is unreliable and inadmissible.

       D.      Dr. Vega’s “Recommendations” For Each Plaintiff Are Impractical and
               Irrelevant

       When determining the relevance of an expert’s testimony under Daubert, courts assess

“whether the proposed expert sufficiently connected the proposed testimony with the facts of the

case.” Lauzon, 270 F.3d at 687. But the “Recommendations” Dr. Vega includes in each of his

reports for the 16 Plaintiffs concerning academic and behavioral support do not in any way “fit”

the facts of this case as required by Daubert. His own testimony demonstrates that his

recommendations are entirely meaningless and impractical for Plaintiffs and their particular

circumstances. Moreover, they have not, in any way, been communicated to Plaintiffs or their

parents for potential implementation. As a result, these opinions are wholly unhelpful to the jury,

irrelevant, and inadmissible.

       For example, Dr. Vega recommended stimulant medications for some Plaintiffs but


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acknowledged that “I don’t know if everyone has access to that medication.” Ex. A, Vega Dep.

Vol I at 122:1-13. He recommended several web-based math programs for one Plaintiff, but later

admitted that the same Plaintiff did not have a computer in his home. Id. at 127:1-129:11. He even

conceded, as he must, that the programs were not even used by schools in La Oroya:

       Q: What is the, what is the usage rate for these programs, Odyssey Math,
          Investigations in Number, Data and Space, and Everyday Mathematics and
         Accelerated Math in La Oroya.

       A: None.

Id. at 130:13-17.

       Amazingly, Dr. Vega does not even know if the educational programs he recommended

for Plaintiffs are available in Spanish. See id. at 130:9-20 (suggesting that “[s]ome may be”).

Further, Dr. Vega also recommended a number of interventions for Plaintiffs that included being

“allowed to take examinations in a separate, quiet place” with Plaintiffs’ existing schools providing

additional “supportive instruction” and parents being “encouraged to implement additional support

and instruction at home with a tutor or learning specialist with experience teaching in [the given]

area.” E.g., Ex. F, Vega G.S.A.Y. Report 2/18/2019 at 17-18. Yet, Dr. Vega has acknowledged

that the schools in La Oroya “don’t really have much of a special education program.” Ex. A, Vega

Dep. Vol. I at 129:4-11.

       Dr. Vega has also not made any effort over the last several years to communicate these

very specific recommendations to Plaintiffs directly or through their counsel—or even discussed

particular ways to implement these recommendations with anyone at the educational institutions

in La Oroya—and has no intention of doing so. Id. at 118:23-119:10. In fact, Dr. Vega testified:

       Q: So you have certain recommendations about behavior management in the home
          that you believe would help [G.S.A.Y.], right?

       A: Yes.


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       Q: Okay. What-but you, you’re not going to be able to do anything to help implement
          those, right?

       A: That’s correct.

       Q: Okay. You’re not going to communicate them to anybody, other than the participants
          in the lawsuit, right?

       A: That’s correct.

Id. at 122:19-123:5 (emphases added).

       The impracticality of the “recommendations” and Dr. Vega’s failure to follow up as to any

of them demonstrates their futility to the jury.

       E.      Dr. Vega’s Opinions About the Impact of Lead Exposure On Plaintiffs Is
               Entirely Speculative

       In each of his reports, Dr. Vega provides the results of the cognitive and

neuropsychological tests he administered, which include a measure of the Plaintiff’s GIA. Dr.

Vega, however, cannot explain how these numerical scores translate into any practical impact on

any Plaintiff’s life. As an initial matter, Dr. Vega recognized that there is no way to establish what

each Plaintiff’s GIA would have been without exposure to lead, and that it is “impossible” to

quantify. Ex. L, Vega Dep. Vol. III at 892:13-18.

       Beyond that, Dr. Vega’s opinions regarding the impact lead exposure had on Plaintiffs’

lives are extremely vague and speculative, and can be reduced to a statement that lead exposure

made Plaintiffs’ cognitive function “worse” and had a “negative” effect:

       A.      The role of neuropsychology is to be able to provide the information with the degree
               of neuropsychological certainty. So based on what that means. I can tell you that
               his academic performance was impacted by his level of lead.

       Q.      To what extent?

       A.      To the extent that it did.

                                                        ***


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       Q.      Sure. How did lead exposure impact [G.C.S.]’s academic performance?

       A.      In a negative way.

       Q.      How, how negative?

       A.      In a negative way, so it’s worse now than it would have been without it.

Ex. A, Vega Dep. Vol. I at 297:14-298:4 (emphases added).

       Dr. Vega’s opinions that educational and employment opportunities for Plaintiffs have

been, or will be, negatively impacted by their lead exposure are entirely speculative. Dr. Vega

admitted that he has not undertaken any formal analysis of the Peruvian educational system. He

does not know the general attendance rates or enrollment rates for secondary school in Peru. Id. at

312:2-322:15. He does not know the graduation rate for secondary school in Peru. Id. He is not

aware of a single Plaintiff that has failed to enroll in secondary school. Id. at 339:6-11. And he has

no knowledge of the percentage of students in Peru who attend university or graduate from a post-

secondary school. Id. at 325:10-327:17. Incredibly, Dr. Vega has done no analysis whatsoever to

determine how Plaintiffs compare to the larger population of Peruvians in their educational or

vocational pursuits before rendering these misguided opinions. Id. at 342:5-17.

       When asked whether he could opine with any specificity regarding how Plaintiffs would

be performing academically or with respect to employment if they had not been exposed to lead,

his response was – “They’d be doing better.” Id. at 342:18-23. This is nothing but unsupported

speculation as Dr. Vega has done no analysis or investigation and has no information to compare

these individuals’ academic performance or employment prospects to that of the Peruvian

population generally. Not only is his opinion based on insufficient facts, but it directly contradicts

the evidence, which demonstrates that Plaintiffs have attended secondary school, and/or university,

and/or obtained gainful employment across the board.

       The absurdity of Dr. Vega’s opinions in this regard is demonstrated by his attempt to

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support his opinions using the example of J.J.E.C., who is attending a university program in

architecture:

       Q.       Right. So instead of going to university, somebody might do what?

       A.       So, for example, there’s someone who is attending a university in an architectural
                program, but that wasn’t their first choice, they really wanted to become an
                engineer, and they failed out of engineering. So maybe that person would become
                an engineer because that’s what they really wanted to do, and they have the
                cognitive ability to do that rather than settling for something that was less than
                what they wanted to do, which was architecture.

       Q.       So, so one of the plaintiffs, absent lead exposure, would be studying engineering,
                but because he or she was exposed to lead, he or she is studying architecture.

       A.       You’re asking me what would be different –

       Q.       Yeah.

       A.       -- if they were going to university, and my answer is that going to university is one
                thing, being able to go to university and study a particular topic that is more
                challenging than another, that’s a different, that is what I’m making the comparison
                for.

       Q.       Sure.

       A.       As an example.

       Q.       Is engineering a more challenging academic field in Peru than architecture?

       A.       So the, the inference that can be made from somebody’s ability to get into and
                perform in an architecture school that doesn’t, is unable to do that in engineering is
                that engineering is a, has higher demands.

Id. at 342:24 -344:6 (emphasis added). Dr. Vega utilizes nothing more than circular logic to support

his speculative opinions. As his testimony makes clear, he has done no analysis or investigation to

determine whether any particular educational program in Peru is more challenging than another or

the reasons this particular Plaintiff ended up in a different program.

       Dr. Vega’s qualifications as a neuropsychologist also do not allow him to speculate

regarding the impact of lead exposure on Plaintiffs’ educational and vocational opportunities when

he cannot articulate what that impact was nor present any data or analysis to support those

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opinions. Expert testimony is inadmissible if it is speculative, unsupported by sufficient facts, or

contrary to the facts of the case. Concord Boat Corp. v. Brunswick Corp., 207 F.3d 1039, 1057

(8th Cir. 2000); see Weisgram v. Marley Co. 169 F.3d 514, 519 (8th Cir. 1999) (holding that the

district court abused its discretion in allowing an expert “free rein to speculate before the jury as

to the cause of the fire by relying on inferences that have absolutely no record support …. No

foundation was established for [the expert] to testify to the extent he did, and the court abused its

discretion in allowing the jury to hear this testimony”). Dr. Vega’s opinions regarding the alleged

impact of lead exposure on the Plaintiffs’ educational or employment pursuits are entirely

speculative and unreliable and should be excluded.

IV.    CONCLUSION

       For the reasons stated above, the Court should exclude the proffered opinion testimony of

Plaintiffs’ expert witness, Clemente Vega, Psy.D., under Rule 702 and Daubert.



                                      Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 15th day of November, 2021, a true and correct

copy of the foregoing was filed with the Clerk of the Court through the Court’s CM/ECF system,

which will affect service on all counsel of record by sending a Notice of Electronic Filing.


                                        /s/ Geoffrey M. Drake




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